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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION
 DWIGHT RUSSELL, ET AL.
     On behalf of themselves and all
     Others similarly situated,
     Plaintiffs,

 v.
                                                             C.A. No. 4:19-CV-00226
 HARRIS COUNTY, TEXAS, ET AL.,
     Defendants.

  NON-PARTY FELONY JUDGES’ REPLY IN SUPPORT OF MOTION TO QUASH

        Plaintiffs have now had the opportunity to tell this Court what discovery they must obtain

that no other source, save for the Felony Judges, can provide them to support their claims. Rather

than do so, Plaintiffs urge the Court to compel the Felony Judges to comply with discovery because

they believe the Felony Judges control all aspects of the Harris County bail system.

        The Felony Judges are not parties.

        So, no discovery is necessary to “show that the Judges have the authority to promulgate

and comply with constitutional rules and policies.” After all, let’s say, arguendo, that Plaintiffs will

show just that. What then? This Court cannot issue an order that the Felony Judges are acting in

violation of 42 U.S.C § 1983– they are not parties. The Felony Judges cannot be enjoined to create

policies – they are not parties. The Felony Judges cannot be ordered to withdraw

“unconstitutional” policies – they are not parties. The Felony Judges cannot be told to refrain

from or participate in working with their County cohorts within the State’s criminal justice system

– they are not parties.




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         If this Court chooses to enjoin the County to pass its own policies or even refuse to comply

with alleged polices of the Felony Judges, so it may be. But discovery from the Felony Judges in no

way assists in proving such an order is constitutionally required. 1

                                                     Argument

    I.        Plantiffs Fail to Overcome Sovereign Immunity.

         A. Plaintiffs are Seeking to Maintain a “Suit” Against the Felony Judges.

         The Felony Judges have not argued that Rule 45 subpoenas are always inappropriate in any

case. That much is plain from their motion. Rather, the Felony Judges have argued that the Rule

45 subpoenas served on them in this specific case constitutes a “suit,” which entitles them to

Eleventh Amendment Immunity.

         Rule 45 subpoenas can constitute “suits” to which immunity attaches. The Fourth Circuit

and the Eighth Circuit have recognized this—albeit in the context of federal sovereign immunity

and tribal sovereign immunity. 2 See Baron Oil Co. v. Downie, 873 F.2d 67, 70–71 (4th Cir. 1989);

Alltel Communications, LLC v. DeJordy, 675 F.3d 1100, 1105–06 (8th Cir. 2012). Plaintiffs provide

no meangingful reason why the same rationale applied in these cases would not apply in the context

of state sovereign immunity. Instead, as they acknowledge, a “suit” is against the sovereign “if the




1
  Much less compliant with relevant case law or statutes. See, e.g., Tex. Code. Crim Pro. Art. 17.03 (prohibiting
magistrates from granting personal bonds on certain offenses); Id. at Art. 15.19. (“If the arrested person fails or refuses
to give bail...the arrested person shall be committed to the jail of the county where the person was arrested.”); see also
Valentine v. Collier, 20-20525, 2021 WL 1153097, at *12 (5th Cir. Mar. 26, 2021) (Oldham, J., concurring) (stating
“federal supervision of state prisons” is “not normal today. Rather,...this sort of federal-court intervention is
unlawful.”).
2
  The cases Plaintiffs cite in support of their position are distinguishable from this case. Generally, they stand for the
proposition that a state and its employees do not enjoy Eleventh Amendment immunity from a Rule 45 subpoena
where “no judgment or other relief of any kind is sought against them” in the underlying litigation. See Allen v.
Woodford, 544 F. Supp.2d 1074, 1079 (E.D. Cal. 2008). That is clearly not the case here. Plaintiffs’ response makes
clear that the Felony Judges are the very subject of the litigation and the relief they want. Because of the belief that the
Felony Judges can be compelled to act in a certain way should Plaintiffs ultimately prevail, immunity applies.


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judgment sought would expend itself on the public treasury or domain, or interfere with the public

administration.” Dugan v. Rank, 372 U.S. 609, 620 (1962). A Rule 45 subpoena is also a “suit” for

immunity purposes if it compels an agency to exercise its public function differently than it would

ordinarily choose to. See Downie, 873 F.2d at 70–71.

       Plaintiffs continue to seek relief against the Felony Judges as if they were still parties,

specifically demanding “relief from the enforcement actors” – who they deem to be the Felony

Judges – in the form of “enjoin[ing] them.” Dkt. No. 453 at 15, n.17; see also id. at 19 (“[t]his case

is about the Judges’ failure to exercise their rulemaking authority...and their failure to follow the

Constitution when setting bail in their own courtrooms.”). This Court appears to have considered

this course of action. Dkt. No. 461 (denying the Felony Judges their deliberative process privilege

noting that the Court is “consider[ing] civil-rights and constitutional violations.”). Assuming this

is something Plaintiffs could obtain (it is not; the Felony Judges are not parties), such a judgment

would unquestionably interefere with the Felony Judges’ administration of their duties and compel

them to act differently than they would ordinarily choose to act. They would be compelled to

modify their practices to fit Plaintiffs’ requests and be subject to federal oversight of their actions.

       Plaintiffs’ notion that voluntarily dismissing the Felony Judges and then using Rule 45

subpoenas to circumvent the Felony Judges entitlement to sovereign immunity, despite continuing

to seek discovery, and even ultimate relief, from them as if they were parties, negates the

protections that immunity was created to safeguard. It is under these limited—and perhaps

unprecedented—circumstances that the Felony Judges argue they are entitled to Eleventh

Amendment immunity from subpoena proceedings.

       B. Immunity is Immunity from Discovery, Not Just Immunity from Suit




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         Whether or not these subpoenas are a “suit” against the Felony Judges, the fact remains:

sovereign immunity is immunity from discovery, not just immunity from suit. Harlow v. Fitzgerald,

457 U.S. 800, 817 (1982). In other words, “sovereign immunity is an immunity from the burdens

of becoming involved in any part of the litigation process.” United States v. Moats, 961 F.2d 1198,

1203 (5th Cir. 1992). The Supreme Court has made clear that discovery is an independent stage of

litigation that sovereign immunity protects state actors from, given that “‘[i]nquiries of this kind

can be peculiarly disruptive of effective government.’” Mitchell v. Forsyth, 472 U.S. 511, 526 (1985)

(quoting Harlow, 457 U.S. at 817)). The protection sovereign immunity provides “would be greatly

depreciated if it did not include protection from discovery.... [C]lose control of discovery is

essential to the preservation of meaningful official immunity.” Williamson v. U.S. Dep't of

Agriculture, 815 F.2d 368, 382–83 (5th Cir. 1987).

         Thus, whether the Felony Judges are “ parties,” or even if this Court agrees with Plaintiffs

that there is no “suit” in this case, sovereign immunity, nevertheless, bars discovery from

proceeding. Ray v. Judicial Corr. Services, Inc., 2:12-CV-02819-RDP, 2014 WL 5090723, at *2

(N.D. Ala. Oct. 9, 2014) (“Although [the judge] is a nonparty, “[t]he policy behind immunity does

not merely extend to suits, it also extends to protection against discovery.”). Accordingly, “[u]ntil

[the] threshold immunity question is resolved,” whether by this Court or the Fifth Circuit,

“discovery should not be allowed.” Harlow, 475 U.S. at 818.

   II.      Plaintiffs Have Failed to Alleviate the Undue Burden that
            the Subpoenas Place on the Felony Judges.

         Plaintiffs’ Response fails to demonstrate how they have fulfilled their affirmative duty to

refrain from posing an undue burden on the Felony Judges in responding to discovery. See FED.

R. CIV. P. 45(d)(1). Plaintiffs’ Response is an amalgamation of vague assertions of “critical” need



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for discovery, cherry-picking of testimony from depostion testimony that fails to reflect the actual

evidence gathered in the case, and a demand that any true burden placed on the Felony Judges due

to the time, breadth or harassing nature of their subpoenas simply be disregarded. None of the

arguments Plaintiffs present overcome the Felony Judges’ assertions that undue burden justifies

quashal of the subpoenas.

           A. Rule 45 Discovery is Unecessary Based on Plaintiffs’ Own Gathered Testimony.

           Plaintiffs have deposed County Actors as well as Felony Judge Brian Warren. Those

deponents have described the Harris County bail process, and the roles of each agency as follows:

           Sheriff’s Office: The Sheriff’s Office employs officers who place people under arrest.

Deposition of 30(b)(6) for the Sheriff’s Office, Major Patrick Dougherty (Dougherty Depo.) 27:19-

22 (Exhibit A). The arresting officer then contacts the District Attorney’s (DA) office and

discusses arrest with an intake DA. 3 Id. at 27:22-28:4. While on the phone, the intake DA will reach

a conclusion on what charge to file, if any, in the system. Id.

           If the intake DA determines charges are appropriate, the officer will take the arrestee to the

Joint Processing Center and into the Sheriff’s Office’s custody. Dougherty Depo. 33:1-4. The

arresting officer will then fill out a DA intake form (DIMS) to include descriptors of the arrestee,

a probable cause statement, and witness info. Id. at 33:20-34:11. The information the officer inputs

is used by the DA in formulating a charging documents and also by the hearing officer in setting

bail. Id. at 34:12-35:1.

           Once the arresting officer completes these tasks, their remaining duties, and the duties of

the Sheriff’s Office in general, as it pertains to bail are defined by law. Tex. Code Crim. Pro. Art.



3
    For obvious reasons, officers will not call the intake DA on warrant arrest. Dougherty Depo. 32:7-10


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15.20; Tex. Code Crim. Pro. art 2.18; Dougherty Depo. 37:15-18. The Sheriff’s Office does not use

a bail schedule to determine a detainee’s bail nor whether to release them. Dougherty Depo. 82:23-

24. However, when it comes to releasing people, the Sherifff’s Office does, in fact, “have to

determine whether somebody can be released or not.” Id. at 84:15-16. If the Sheriff’s Office has

determined a detainee has posted bond, they will be released. Tex. Code Crim. Pro. art 2.18;

Dougherty Depo. 92:18-22. If the Sheriff’s Office determines a hold exists, the detainee will not be

released. Id. at 84:12-16. The Sheriff’s Office releases detainees under the General Bond Order

based on Pretrial Services’ determination that the detainee qualifies. Id. at 119:12-17.

        Pretrial Services (“PTS”): After an arrestee is brought over to the Joint Processing Center,

PTS will interview the arrestee. Dougherty Depo. 50:19-23. That interview prompts PTS to make

several independent determinations. First, PTS make the unilateral determination that an arrestee

qualifies for release under the General Order Bond. Dougherty Depo. 118:10-119:2; Deposition of

30(b)(6) for PTS, Spurgeon Kennedy, (Kennedy Depo.) 28:6-8, 199:1-6 (Exhibit B). Second, PTS

will independently assigned an arrestee a “risk level”4 meant to give a reasonable estimate of a

detainees risk of failing to reappear at his next court date and risk of engaging in criminal activity if

released. See Kennedy Depo. 44:14-45:4. The PTS-determined risk level is what is used to

recommended a bail amount. See Deposition of 30(b)(6) for DA’s Office, Jennifer Keith, (Keith

Depo.) 61:16-62:1; 62:19-24 (Exhibit D). Third, PTS will autonomously make conditions of release

recommendations. See Deposition of 30(b)(6) for PD’s Office, Alex Bunin, (Bunin Depo.) 76:23-

79:6; 145:6-9 (Exhibit E). At times, these recommendations are not made but, instead, the matter

is referred to the Hearing Officer to decide, with no position from PTS. Keith Depo. 60:4-15


4
 Implemented in the PSA by an outside consulting company. St. Julian Depo. 33:9-21; Deposition of Felony Judge
Brian Warren (Warren Depo.) 70:7-13 (Exhibit C).


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       The results of PTS’ interviews and the subsequent recommendations are contained in what

is called a Pretrial Safety Assessment (“PSA”). Dougherty Depo. 43:6-44:7. The

recommendations contained with the PSA are made based on PTS policies, not any external

instructions. Bunin Depo. 142:25–143:13; Kennedy Depo. 60:17-61:10. PTS does not directly

recommend whether a person should be released or detained, but they have a “great deal of power

how to present” information that “would support one or the other.” Bunin Depo. 147:13-22.

       PTS works under the direction and supervision of the Harris County Budget Office and

Jim Bethke. Id. at 64:8-20. To the extent any part of the PTS post-arrest, pre-15.17 hearing

processes were to be changed, those decisions would rest entirely in the hands of PTS’ direct

supervisors. Id.

       DA’s Office: An intake DA will receive a call from an officer who just placed a person under

arrest and will consult with the officer until a determination is made as to whether the DA would

like to file charges. Dougherty Depo. 27:19-30:24. The DA’s office will then wait to receive the

DIMS report from the Sheriff’s Office as well as the PSA from PTS. Bunin Depo. 73:17-23; Keith

Depo. 60:10-15. With that information, the DA’s office will create the charging document. Keith

Depo. 60:10-15; Dougherty Depo. 36:21-23. The charge that the DA’s office decides to make

affects whether that arrestee is eligible for certain bonds or bond amounts, a General Order Bond

or release under GA-13 or release at all. Keith Depo. 54:7-11; 55:9-19; 63:21-64:9.

       The DA’s office often places a recommended bail amount in the charging document. Keith

Depo. 59:22-60:3. This amount could be what PTS has determined is the recommended bail

amount; or the DA’s office “has discretion to put whatever bond it wants on the complaint” Bunin

Depo. 127:11-14; Keith Depo. 59:22-60:3, 185:22-186:7 (stating a higher or lower bond will be




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placed on the charging document by the DA’s office if the DA’s office believes it is appropriate to

do so); see also Deposition of 30(b)(6) for Hearing Officers, Judge Courtney St. Julian (St. Julian

Depo.) 40:9-21 (Exhibit F). Either way, that amount could, or could not, be recommended in

accordance with the bail schedule. Bunin Depo. 69:9-16, 74:2-5, 74:22-25. Once complete, the

charging document gets sent to the clerk’s office to be assigned to a hearing officer. Dougherty

Depo. 36:24-25.

         Public Defender’s (“PD”) Office: The PD’s Office will receive information as to charges

filed against Harris County arrestees from the DA’s Office. Bunin Depo. 34:25-35:6. It will also

obtain all pertinent information on the arrestee from PTS such as the arrest report, criminal

background, financial affidavit and PSA. Id. Prior the Article 15.17 hearing, the assigned PD will

interview the defendants/clients to find out all other information necessary to argue for a certain

bail result. Bunin Depo. 35:7-10, 51:8-10. The PD’s Office also makes the independent

determination when to consult with social workers employed by PD’s office to the extent health or

mental health placement may be a concern at the 15.17 hearing. Bunin Depo. 91:2–92:22.

         Hearing Officers: Each hearing officer, when hired, is not instructed to follow policy, but

rather, to conduct themselves pursuant to “the Texas Penal Code, Texas Code of Criminal

Procedure, the United States Constitution and all the definitions that are found in each of those.”

See St. Julian Depo. 70:2-8. Hearing Officers “are an independent body” that is “not really

supervised.” 5 St. Julian Depo. 13:25-14:4.

         Once cases are placed on their dockets by the clerk’s office, prior to Article 15.17 hearings,

Hearing Officers will review the information provided to them exclusively by PTS, the Sheriff’s


5
 In fact, the only supervisor Judge St. Julian could name was herself, because she is “responsible for evaluating the
work of the other hearing officers.” St. Julian Depo. 14:3-4.


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Office, the DA’s Office and the PD’s Office. Bunin Depo. 101:5-10 (Hearing officer gets to “see

everything [the DA and PD] have gotten to see.”); St. Julian Depo. 79:16-80:2, 125:5-16, 128:14-

21. If, upon that review, a Hearing Officer determines someone is eligible for the General Order

Bond, they have the discretion to release them on that basis or to issue secured bond despite the

order. Bunin Depo. 134:13-20. Hearing Officers also can, and have, choose to release arrestees on

personal bond prior to any bail hearing. 6 Keith Depo. 56:3-25. It is “in the discretion of the hearing

officers” to make such a choice. Keith Depo. 55:24-56:8. In other words, “if...the hearing officer

believes that a Personal Bond is appropriate, the Bail Schedule and the Risk Assessment

notwithstanding, the hearing officer can grant a Personal Bond.” Keith Depo. 56:19-25. Hearing

Officers “do not interpret [the felony bail schedule] to be an order to [them].” St. Julian Depo.

25:9-10.

         Bail Hearing: Article 15.17 hearings occur in Harris County jail. Dougherty Depo. 38:1-4.

Present at those hearings are a hearing officer, an assistant district attorney, an assistant public

defender and the defendant. 7 Bunin Depo. 97:18-20. The Hearing Officer will begin “[b]y reading

each defendant their rights 8, then giving an overview of what to expect in court that day and usually

by concluding all that by saying, ‘And here are some of the factors I will consider in assessing your

bond amount.’” St. Julian Depo. 64:14-18; Bunin Depo. 97:21-98:1. This opening speech is usually

the result of a written script that the Hearing Officers have worked off of until memorized. St.

Julian Depo. 64:19-65:3. Each Hearing Officer writes their own script. Id. at 65:4-6.



6
  Subject only to statutory prohibitions on doing so. See Warren Depo 38:23-39:3 (“there are statutory provisions for
felony cases where a magistrates is prohibited by law from giving a PR bond, not from instructions by a judge, but from
the Code of Criminal Procedure.”).
7
  The only other party that will attend is, sometimes, PTS if requested. Bunin Depo. 98:4-6
8
  This is the same recitation as is done in the misdemeanor courts pursuant to the ODonnell decree. St. Julian Depo.
65:7-14


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         The Hearing Officer will then hear from the DA’s Office “about the seriousness of the

crime and the likelihood that the person will commit future crimes, and that the person is unlikely

to appear when requested.” Bunin Depo. 101:24-102:3; St. Julian Depo. 79:16-80:9. The DA’s

office will also provide argument as to probable cause. 9 St. Julian Depo. 69:20-70:1. The PD’s

Office will then make “many” arguments to include “ties to the community, that they have ties.

Possibly employment, school. Lack of a significant criminal history...if they have a criminal history,

lack of non-appearances. Low risk on the PSA. The offense itself, again...[E]ven though there may

be enough for probable cause, it may still sound like a fairly weak case, and that is often considered

favorably for defendants.” Bunin Depo. 102:4-17; St. Julian Depo. 80:10-23.

         When ruling on bail, the Hearing Officer, in addition to hearing, and independently

considering, the adversarial positions of the parties, must also consider financial information of the

defendant provided and sign off that they did so. Bunin Depo. 102:24-103:3; St. Julian Depo. 49:1-

6. Far from even referencing it, the bail schedule is frequently disregarded by Hearing Officers and

without fear of reproach. St. Julian Depo. 87:23-88:1. The Hearing Officer then makes an

independent, discretionary ruling as to what the bail amount should be and, while doing so, makes

a factual finding as to the amount a person can afford to pay. Bunin Depo. 103:4-8; St. Julian Depo.

87:23-88:5. The Hearing Officers also set their own nonfinancial conditions of release, without

instructions from anyone, subject only to what PTS can actually monitor. St. Julian Depo. 103:23-

104:1, 105:20-106:6, 111:11-112:9.

         The Hearing Officer will fill out their own findings on probable cause and bail on a

computer, which then generates a document containing their rulings. Dkt 259-5; St. Julian Depo.


9
 There are no policies or orders, written or unwritten, that direct the Hearing Officers on how to apply the probable
cause standard. St. Julian Depo. 70:23-71:10.


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67:15-69:10. Nowhere in that document is there a reference to another judge, bail schedule or any

other orders. See id.

       ***

       A careful reading of Plaintiffs’ gathered deposition testimony makes one thing very clear:

nowhere, in the entire process from arrest to bail determination, does a Felony Judge instruct

anyone on how bail should be deteremined or what bail amount should ultimately be set on an

individual arrestee. See March 3, 2021 Hrg. Trans. (Mar. 3 Hrg.) 29:17-21 (Exhibit G) (“to the

extent you already have that information either from the county or the sheriff or from publicly

available sources, then, perhaps, it would not be needed to get it again from the felony judges[.]”).

       Felony Judge Brian Warren recently made this point abundently clear to Plaintiffs. For

close to 7 hours, Judge Warren reiterated to Plaintiffs, in numerous ways, that the Felony Judges

play no role in any part of the process as explained above. Some examples are as follows:

             •   “We're not giving instructions on magistrates how to set bonds. We are not telling
                 the sheriff when he can or cannot release people.” Warren Depo. 60:14-17.
             •   “We do not have a Bond Schedule.” Id. at 41:1-2.
             •   “[The bail schedule] has never been binding on any magistrate as long as I've been
                 a judge.” Id. at 72:19-20
             •   “[The felony bail schedule] is not being implemented. In my experience prior to
                 getting on the bench, it's never been implemented. And it is definitely not being
                 used currently.” Id. at 78:22-79:1.
             •   “[T]he current magistrates are not bound by anything but the law and their
                 discretion.” Id. at 148:19-21.
             •   “Felony judges currently...do not give instructions to magistrates about what they
                 can do and what they can't do within the bounds of the law... we don't give them
                 instructions. So we don't limit their discretion.” Id. at 40:12-23.

After twenty-seven hours of deposition testimony, Plaintiffs have yet to find a single way in which

the Felony Judges play any role in the injury claimed within the four corners of their complaint.

       B. The Demanded Discovery is Irrelevant



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       The undue burden on the Felony Judges is not outweighed by some “critical” need in this

case. Plaintiffs are seeking specific relief that, if granted, must be narrowly tailored only to redress

the harm alleged and end the case. John Doe #1 v. Veneman, 380 F.3d 807, 818 (5th Cir. 2004)

(“The district court must narrowly tailor an injunction to remedy the specific action which gives

rise to the order.”); Valentine v. Collier, 20-20525, 2021 WL 1153097, at *13 (5th Cir. Mar. 26,

2021) (Oldham, J., concurring) (disfavoring the “reforming [of] the internal structural

relationships of government agencies or public institutions” though use of a “forward-looking,

mandatory injunction...whose prescriptions displace significant areas of defendants’ discretion.”).

       Plaintiffs allege injury from being held on bail where they have not received an Article 15.17

hearing containing “findings concerning the person’s present ability to pay and without a showing

by the government that pretrial detention is necessary to serve a compelling interest in protecting

public safety or preventing flight from prosecution.” Dkt. No. 195-1 at ¶40. Plaintiffs want relief

in the form of money bail being imposed after there have been “findings concerning their present

ability to pay and...the necessity of the detention in light of alternative conditions of release that

could serve the government’s interests.” Id. at ¶200.

       The discovery obtained in this case reflects what has always been known to Plaintiffs (and,

thus, why the Felony Judges were not initially parties nor do they remain parties): the Felony

Judges have no bearing on, no input on, and no role in the 15.17 findings. As occurs in this Court,

the rulings made in a case in Harris County, even as to bail, are made by the judicial decisionmaker

assigned to that case. Plaintiffs’ response attempts to stretch what their case says, and what they

are entitled to, by making several claims about the “vital” importance of discovery from the Felony

Judges. But none of these claims hold merit because they are premised on needs that do not exist.




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        Plaintiffs give two reasons why discovery and depositions of the Felony Judges are

necessary. First, they claim they must prove “that bail orders resulting in felony arrestees’ pretrial

detention due to inability to pay—whether those orders are issued before the Article 15.17 hearing,

following that hearing, or by the Felony Judges in their own courtrooms—are issued without the factual

findings and procedural protections the Constitution requires.” Dkt. No. 453:20.

        The Felony Judges are not parties.

        Plaintiffs only need to prove what occurs prior to and at Article 15.17 hearings. What

happens in a Felony Judges’ courtroom in any particular case has no bearing on this matter. If that

is not logically clear, it is, at the very least, clear from what the discovery has demonstrated – what

the Felony Judges do in their courtrooms does not bind any of the county actors, or defendants

while participating in Article 15.17 hearings. See, supra, para. II.A.

        The Plaintiffs’ second basis for non-party discovery is that “the Felony Judges possess, and

routinely exercise, the authority to promulgate post-arrest rules and policies.” Dkt. No. 453:20.

        The Felony Judges are not parties.

        The claims against them, even as policymakers, are gone. Remarkably, Plaintiffs believe

that any final judgment in this case against the County requires a result where “this Court must

hold that the Judges’ conduct...violates the Constitution.” Dkt. 453 at 15, n. 17. Again, the

Felony Judges cannot, as non-parties, be found to have violated Plaintiffs’ rights under 42 U.S.C.

§ 1983. 10 The Felony Judges’ alleged policies cannot be declared unconstitutional nor can they be




10
  In that same footnote cited just above, Plaintiffs appear to claim that their own personal reasons for wanting the
Felony Judges to be dismissed – to do with avoiding “delay” rather than conceding that sovereign immunity applied
– somehow permits this Court to make this ruling without jurisdiction to do so. Dkt. 453 at 15, n. 17. This is wrong.
There is no “prudential reasons” exception to the rule requiring jurisdiction over a party before declaring they are
violating someone’s constitutional rights under 42 U.S.C. § 1983. See Dkt. No. 453 at 37.


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enjoined in any way from issuing the policies or not issuing others. ODonnell v. Goodhart, 900 F.3d

220, 224 (5th Cir. 2018) (This Court is required to “narrowly tailor an injunction to remedy the

specific action which gives rise to the order.”). Since Plaintiffs believe discovery would permit

them to obtain a judgment against a non-party based on proof that they promulgate certain policies,

and this is wrong, there is no rational reason why such discovery is necessary.

       Moreover, even assuming it is necessary to this case to do so, proving a policy is only half

the battle. Plaintiffs must also demonstrate to this Court that any of the actual Defendants in this

case have not only had these alleged policies conveyed, in writing or orally, to them but also felt in

any way obligated to follow them. The discovery on this indicates the answers to both are “no.”

The Hearing Officers do not consider any order issued by the Felony Judges as unquestionably

binding upon them. St. Julian Depo. 95:11-18 (Stating she may follow Felony Judges’ instructions

“depend[ing] on the wording” and that she “might consider it. But...it would greatly hinge on the

authority that they're utilizing to [issue the order]”); see also id. at 78:2-12 (stating that, even

though it is her personal understanding that the PD’s office cannot make probable cause arguments

at Art. 15.17 hearings she “welcome[s] it” anyway); see also Dkt. No. 413 at n. 7 (detailing hearing

officers interrogatory responses that they make case determinations in their own courtrooms using

their judicial discretion). They can, and do, disregard the bail schedule entirely. St. Julian Depo.

87:23-88:1. And the PD’s Office, DA’s Office, Sheriff’s Office, and PTS, if they know about it at

all, either see it as a mere recommendation or do not use it at all. Bunin Depo. 127:7-10; Dougherty

Depo. 39:17-40:4; Kennedy Depo. 203:14-18, 206:25-3. No one was able to explain how the 2017

Recommended Bail Practices affected their daily tasks or use of discretion, much less that they felt

bound by it. Bunin Depo. 104:22-25; 105:15-20; Kennedy Depo. 229:12-231:14.




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        Most telling, Judge Warren, who intervened in this case as a defendant with the goal of

“shaping bond reform in favor of a more just system,” (Dkt. No. 255) has attempted to explain to

Plaintiffs that this system is not unjust due to any current policies or customs that the Felony

Judges dictate, or fail to dictate, to County officials, written or unwritten. Instead, nothing the

Felony Judges do impacts what findings are made by Hearings Officers or how. Warren Depo.

38:23-39:3 (“[T]here are statutory provisions for felony cases where a magistrates is prohibited by

law from giving a PR bond, not from instructions by a judge, but from the Code of Criminal

Procedure.”); Id. at 148:19-21 (“the current magistrates are not bound by anything but the law and

their discretion.”); Id. at 296:10-13 (“as hard as you try to say it's a Bond Schedule, it's not. It's

never been adopted. It's never been approved. It's never been used.”).

        Based on the foregoing, the list of specific questions Plaintiffs demand answers to is readily

discredited. Below are the questions, and summaries of why they require no answer.

1.      Whether Felony Judges promulgated the bail schedule.
        Plaintiffs claim some deponents were “unsure” of this but decline to mention that those
        same deponents stated that, at the least, the bail schedule recommends amounts and, at the
        most, the bail schedule does not get used. 11 Judge Warren expressly told Plaintiffs “[the
        Felony Judges] do not have a Bond Schedule.” 12 Thus, the question about a “policy” that
        is not even in effect or utilized can hardly be critical to a case about current practices.
2.      Whether the March 2017 Recommended Standard Bail Practices Order, signed by the
        Felony Judges is still in effect.
        Plaintiffs have asked every single deponent about this four-year-old order. 13 Contrary to
        demonstrating how this order is relevant to a case for prospective injunctive relief,
        Plaintiffs’ gathered testimony shows no one follows it, and very few are aware of it. Dkt.
        No. 453 at 21; see also supra. Like the bail schedule, its significance in this case is speculative,
        at best.
3.      Which “documents” were rescinded by the March 2017 Order.
        Plaintiffs have yet to give a compelling reason why any discovery about
        policies/orders/practices that are no longer in effect are of any relevance to a case in which

11
   Bunin Depo. 127:7-10; Dougherty Depo. 39:17-40:4; Kennedy Depo. 40:10-13, 41:15-19; St. Julian Depo. 87:23-88:1.
12
   Warren Depo. 41:1-2.
13
   Including Judge Warren who stated it was no longer in effect. Warren Depo. 143:18-21.


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         they must prove ongoing constitutional violations. See, infra, para. II.B. This Court cannot
         order relief that both meets the PLRA’s requirements and orders retrospective relief. See,
         infra, Valentine. Of note, for a question that is “critical,” Plaintiffs did not ask it of the one
         Felony Judge they have deposed. See Warren Depo.
4.       Whether the 2006 Direct Filing Order is still in effect.
         Plaintiffs also did not ask this “critical” question of the one Felony Judge they have
         deposed. See Warren Depo. (Ex. C). Likely because Plaintiffs know 14 there is no need: the
         Felony Judges have already stated that the direct filing order is in effect. Dkt. No. 292 at
         15.
5.       The meaning of the terms “average,” “above average,” and “below average,” as
         used in the felony bail schedule.
         This question is irrelevant because the bail schedule is irrelevant as explained above in
         response to Question 1. Moreover, PTS is the agency that calculates risk scores and utilizes
         these terms in creating a PSA in each case. Kennedy Depo. 54:3-13. Plaintiffs know the risk
         assessment tool was developed by outside consultant, the Arnold Foundation. Id. at 44:10-
         13. The best way to understand the meaning of those terms would likely be to ask those who
         developed and apply them.
6.       Whether the Judges control the content of the financial affidavit used at the Article
         15.17 hearing.
         Whether the Felony Judges had input, or even created, a document containing financial
         questions to assist the County in obtaining information on ability to pay from a defendant 15
         has no bearing on this case. Plaintiffs cannot honestly assert to this Court that the Felony
         Judges control what is known to County actors about a defendants’ ability to pay or their
         financial situation. Plaintiffs have received hours of testimony, detailed about in para. II.A,
         supra, about the various interviews an arrestee goes through with multiple County actors
         prior to their Art. 15.17 hearing. 16 Plaintiffs are inarguably aware that ability to pay is
         information assessed through many means.
7.       Whether the Felony Judges have any policies relating to court appearance in the
         Felony Judges’ courtrooms for arrestees that the Sheriff’s Office must follow.”
         As explained throughout this Reply, what occurs in the Felony Judges courtrooms is
         entirely irrelevant to this suit.


14
   Only two days prior to their Response, Plaintiffs told the Fifth Circuit it was a known fact, admitted to by the Felony
Judges, that a direct filing order existed in Harris County so as to allow concurrent jurisdiction over felony criminal
cases. Daves v. Dallas County, Case No. 18-11368, Doc. No. 00515800787 at p.62. It is unclear why Plaintiffs are
claiming to this Court that this is an unknown, or that the existence of such a system makes this case dissimilar from
Daves, when they have told the Fifth Circuit the opposite. Compare id. (“The fact that Russell involves Harris County
hearing officers rather than Dallas County magistrates does not affect the analysis.”) with Dkt. No. 453 at 37
(“Plaintiffs have consistently and vigorously disputed the notion that...the panel decision in Daves v. Dallas County
required their dismissal.”).
15
   Plaintiffs already have testimony that the Felony Judges do not. Warren Depo. 138:5-14.
16
   In fact, Judge St. Julian stated that the public defender’s office will give “a more robust version of the affidavit.” St.
Julian Depo. 81:16-17.


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8.       Why the Felony Judges had declined to make more use of the “underutilized”
         courtroom in the jail to address the backlog of cases and jail overpopulation.
         In no way does any claim exist in this case that either the Defendants or the Felony Judges
         are acting in an unconstitutional manner that creates a backlog of criminal cases or
         overpopulation of the jail. The findings that Plaintiffs want at bail hearings are either
         constitutionally required or they are not. This evidence is sought purely as part of a fishing
         expedition.17
9.       Whether the Visiting Judges have been hired to assist with conducting bail hearings
         or only resolving cases.
         What Visiting Judges are assisting Felony Judges with on their own dockets is of no
         consequence. The Felony Judges are not parties. How they manage their own dockets in
         their own courtrooms has no bearing on this case.
10.      Why the Judges promulgated the felony bond schedule, the General Order Bonds, or
         decide to hold certain hearings at certain times. And what criteria the Judges use to
         decide whether to transport a person from jail to the courthouse and whether to bring
         the person from the lockup into the courtroom.
         Plaintiffs are barred by the deliberative process privilege from seeking predecisional and
         deliberative processes behind creating any certain policy. That aside, reasons behind the
         Felony Judges’ “policies” are not relevant. Plaintiffs have had full reign to ask the County
         to what extent they follow or adhere to the felony bond schedule or General Order Bond.
         This is the only evidence Plaintiffs need in this case against the County. When the Felony
         Judges hold hearings or where they place defendants while a hearing is occurring is also
         irrelevant. Discovery granted on such an issue would serve purely to allow Plaintiffs to fish
         for new facts to bring in a new lawsuit against the Felony Judges. Rule 45 should not be
         circumvented to serve this purpose.

         Plaintiffs have had complete autonomy over this case and could seek to depose as many of

the employees of the non-adversarial Defendants as they want to understand what policies or

practices effect pretrial bail determinations. And the actual defendant in this case have an

obligation not to simply state “I don’t know” to Plaintiff’s questions. See, e.g., Brazos River Auth.

v. GE Ionics, Inc., 469 F.3d 416, 433 (5th Cir. 2006) (“[the corporation] violated rule 30(b)(6) by

failing to prepare [the representative] with respect to issues that although not within his personal


17
  Further, what else Plaintiffs could gather on this point is unclear given how Judge Warren explained it to them:
“[W]hy would I bring my whole staff to a different building? ... I've had people remotely appear from jail. I mean, to
physically walk across the street with all my staff to go into a different building and have a remote hearing is
unnecessary.” Warren Depo. 199:15-25.


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knowledge, were within the corporate knowledge of the organization....”). This Court should not

reward Plaintiffs’ unwillingness to engage in full discovery with the actual Defendants in this case,

or Defendants failure to fulfill its Rule 30(b)(6) obligations, by requiring non-parties to testify to

and produce documents that reflect what policies and practices those Defendants follow. See Smith

v. Our Lady of the Lake Hosp., Inc., 960 F.2d 439, 448 (5th Cir. 1992) (Noting that Rule 26(g)

specifically “requires that parties make a reasonable inquiry before conducting or opposing

discovery.”); Andra Group, LP v. JDA Software Group, Inc., 312 F.R.D. 444, 452 (N.D. Tex. 2015)

(information obtained under Rule 45 must be “not otherwise obtainable from a party to the

litigation.”).

        In addition, the fact that Plaintiffs could think of only 10 questions they need answers to,

despite 27 hours of depositions, +215,000 documents thus far, 18 should be telling. If anything, this

list of questions as Plaintiffs provide them serves only to demonstrate that no third party discovery

is necessary because not a single question seeks to prove that the County “jail[s] [criminal

defendants] prior to trial without making any finding that pretrial detention is necessary to serve

the government’s interests.” Dkt. No. 195-1 (Plaintiffs’ Complaint) at ¶202.

        The final obvious indicator of irrelevance should be that, despite having +4,000 documents

produced by all of the Felony Judges, 19 Plaintiffs have yet to use a single document in the sole

possession of the Felony Judges to support their need for discovery in their Response or prove

claims that the Felony Judges play a role in bail determinations in numerous previous filings. Dkt.



18
  Plaintiffs have indicated there are more forthcoming from the County.
19
  In producing those documents, the Felony Judges used a far more expansive search term list than plaintiffs have
proposed, and no limitations on who the Felony Judges had communicated with. Compare Dkt. No. 453-3 with Dkt.
No. 434. The responses also answered extremely broad requests for, for example, “any communications about bail”
or “any communications with Hearing Officers and Pretrial Services.” Dkt. No. 215-1. Surely something that
demonstrates the Felony Judges have documents or ESI that only they possess should have revealed itself.


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No. 453 (Resp. to MTQ); Dkt. No. 395 (Advisory); Dkt. No. 354 (Resp. Mtn to Stay); Dkt. No.

305 (Sur-Reply to Mtn to Dismiss); Dkt. No. 259 (Resp. Mtns to Dismiss); Ex. C (Warren Depo.).

The Felony Judges should not be subjected to months-long discovery production 20 for evidence

Plaintiffs are not even utilizing.

           C. 2015 to the Present is an Unduly Burdensome Time Period That Requires, At the
              Very Least, Limitations from this Court.

           Plaintiffs’ discovery continues to present an undue burden on the Felony Judges based on

“the time period covered by the request.” Wiwa v. Royal Dutch Petroleum Co., 392 F.3d 812, 818

(5th Cir. 2004). As this Court explained, “documents that show how the current system is

operating are the most important.” Mar. 3 Hrg. (Ex. G) 29:13-30:4 (“it does seem to me that one

way to reduce the burdensomeness would be to reduce the time period that is sought...I'm urging

you to narrow the time frame as much as you can.”). Ignoring this urgence, Plaintiffs refused to

make any modification of their 2015 starting date. See Dkt. No. 453 at 23. Thus, even this Court’s

instructions otherwise are insufficient to deter Plaintiffs from claiming entitlement to whatever

they want from the Felony Judges; they are, as they have been, confident this Court will provide

it. 21




20
   The final number of pages needing review are approximately 39,420. See Exhibit H (Second Supplemental Affidavit
of Adrian Skinner). This number of pages will take four months to review, at least. Dkt. No. 433. It will also take 3-4
days, per month, to review documents between March 2021 and the month of trial as part of any rolling production
that the Felony Judges are ordered to comply with. See Ex. H (stating here will likely be 1,436 pages of potentially
responsive documents created per month); see also Dkt. No. 433 (predicting ability to review, at most, 400 pages/day)
21
   Plaintiffs also appear to argue that it is not unreasonable to ask for old, irrelevant documents because it is only 200
documents between 2015-2017. This ignores that there are 1,302 more documents if 2017-2019 are included, which
are also irrelevant time periods. This is a total page review of 5,236 (3.5 avg. pages x 1,496 documents), which would
take approximately 2 weeks (5,236÷400pgs/day) to review, in addition to time spent on the other 2020-2021
documents. But undue burden is not assessed simply by coming up with a bright line number that seems reasonable to
Plaintiffs, or the Court, for a non-party to review. Relevancy and needs of the cases are the bedrocks of the undue
burden inquiry. See Wiwa, 392 F.3d at 818.


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       But that is far from true. Plaintiffs claim documents from six to seven years ago are

necessary because “Plaintiffs are challenging entrenched policies, procedures, and unwritten

customs that...were in place at least until the middle of 2017.” Dkt. No. 453:23 (“multiple policies

changed in the middle of 2017.). This Court has said the same. Mar. 3 Hrg. 29:10-12 (“There are

things that have changed since the first promulgation of the request that set that time period.”)

Thus, Plaintiffs’ own characterization of their claims, much less this Court’s characterization,

belies any assertion that this discovery is necessary.

       What is more, Judge Warren has also told Plaintiffs there are no current policies in place

that would support a claim that the Felony Judges have “enforcement” control over the bail

system. See, e.g., Warren Depo. 59:25-60:22 (“[W]e're not implementing policies. We're not

saying who should be released and who should not be released. We are not saying when you can

take a bond and when you can't take a bond... We're not giving instructions on magistrates how to

set bonds. We are not telling the sheriff when he can or cannot release people. We're not telling

them how, why. We're not telling the county how to accept bonds and how not to accept bonds.”).

       Plaintiffs should not be permitted to conduct nonparty discovery on state officials to

discover policies that, indisputably, no longer exist. Even assuming any policies by the Felony

Judges are proper facts to discover in this case, nonexistent policies cannot logically be relevant

where both the claims and possible relief are limited to what is currently occurring in Harris County.

Valentine, 2021 WL 1153097, at *2 (“A permanent injunction is appropriate only if a defendant's

past conduct gives rise to an inference that, in light of present circumstances, there is a

reasonable likelihood of future transgressions.”).

       D. Harrassment That has Been, and will be, Borne from Subjecting the Felony Judges
          to Non-Party Discovery Demonstrates Undue Burden.



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         In addition to the examples given in their motion to quash (Dkt. No. 413 (Motion to Quash)

at 35, n. 15), Plaintiffs have continued to demonstrate that this Rule 45 discovery, and the Felony

Judges’ constant forced participation in this case, are primarily used to intimidate and oppress

those they are confident will not be protected. For example, once Plaintiffs learned that Judges

Robert Johnson and Te’iva Bell 22 were not willing to waive service of the Rule 45 subpoenas,

Plaintiffs used, as a first resort, resources to obtain the judges’ 23 personal home addresses and share

them with third-parties. See AAG Corbello’s Premotion Conference Letter (Exhibit I). Service

was effectuated despite Plaintiffs’ knowledge 24 that Judge Johnson was at Harris County Court

daily. When asked to make reasonable and collegial efforts to restrict access to, or knowledge of,

this confidential information, Plaintiffs’ counsel responded that the Judges deserved such

treatment because they refused to agree to meet their process server at a certain place and time.

See March 18th Email thread Between Counsel (Exhibit J). Upon the Felony Judges plea for

assistance (Ex. I), this Court ordered that Plaintiffs’ counsel detail “their efforts to maintain the

confidentiality of the personal information at issue.” Exhibit K. Ignoring this order, Plaintiffs

responded with the same position that a refusal to meet at a particular time and place to be served

justified the intimidation of a sitting judge by sending an unknown person to his home. 25 Exhibit




22
   Judge Bell was represented by the AG’s office at this time but has since retained other counsel.
23
   Plaintiffs have stated they intended to serve Judge Bell at her home but ceased doing so once Judge Robert Johnson
sought this Court’s protection due to safety concerns.
24
   Even if Plaintiffs’ counsel chooses to claim that they do not have personnel placed in felony courtrooms routinely to
observe proceedings, it is just as easy to argue that “Plaintiffs have multiple ways in which they could have quickly
verified that Judges Johnson or Bell were physically appearing at the Harris County Courthouse.”
25
   Many of those times occurred when Plaintiffs’ counsel was well-aware Counsel for the Felony Judges was not in the
office and/or on medical leave.


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L. In fact, nowhere in the court-ordered response did Plaintiffs provide a single detail as to “their

efforts to maintain the confidentiality of the personal information at issue.”26 See id.

         Additionally, Plaintiffs have also recently used local third-party contacts to ensure this case

looms over the Felony Judges heads daily. The Felony Judges have received hundreds of emails

from both “local” and “non-local” concerned citizens. Each “concerned citizen” signs the email

in the exact same way. Exhibit M (example emails received by Felony Judges). Each “concerned

citizen” sends the email from the same domain name (@everyactioncustom.com). Id. Each

“concerned citizen” parrots the exact same assertions and demands about bail and pretrial release

that Plaintiffs’ counsel claims. Compare id. (“More than 9,000 people are trapped in the Harris

County Jail under inhumane conditions, with not enough water to drink or bathe, freezing

temperatures, and unusable toilets. 88% of these people have not been convicted of a crime”) with

Exhibit N (Facebook page seeking signatures to petition Harris County Judges on behalf of

Plaintiffs’ counsel, the Texas Fair Defense Project, 27 stating “[M]ore than 9,000 people locked in

the Harris County Jail. 88% haven't been convicted of a crime. They don't have enough water to

drink or bathe, are in freezing temperatures, and are unable to use toilets.”). What is worse, agents

for Plaintiffs also call the Judges courtroom phonelines threatening them to release people and

going so far as to repeatedly tell the judge “you are being watched.” Exhibit O.


26
   No further request was made that Plaintiffs provide such detail.
27
   Contact with a person represented by counsel, even through use of an agent, regarding matters relevant to the case
is prohibited by the American Bar Association and Texas Disciplinary Rules of Professional Conduct. ABA Rule 4.2;
Tex Disc. R. Prof. Conduct 4.02. Use of the media to influence ongoing litigation is expressly prohibited by the Model
Rules of Professional Conduct. Model Rules of Prof’l Conduct r. 3.6(a) (“A lawyer who is participating or has
participated in the investigation or litigation of a matter shall not make an extrajudicial statement that the lawyer knows
or reasonably should know will be disseminated by means of public communication and will have a substantial
likelihood of materially prejudicing an adjudicative proceeding in the matter.”). While the Felony Judges are no longer
parties, this harassment has been ongoing and must be noted for the record in the event of future litigation. Moreover,
to the extent this Court agrees with Plaintiffs that it can declare any of the Felony Judges’ actions unconstitutional,
these arguments and evidence are contained herein for purposes of appeal.


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            This has to stop.

            The Felony Judges have had their confidential judicial complaints shared, their addresses

shared, their emails and phone numbers shared. That information is then used to intimidate and

threaten the State’s judiciary not just generally, but in order to influence them to act in a way

directly related to this case. One way in which this Court can stop what is happening, and what will

continue to happen, is to quash these subpoenas.

     III.      Plaintiffs’ Response Fails to Rebut the Undue Burden Asserted by Judges Kelli
               Johnson, Herb Ritchie, Ramona Franklin and DaSean Jones in Being Deposed.

            A. Plaintiffs Are Not Entitled to Deposition Testimony Regarding Irrelevant
               Information. 28

            Plaintiffs’ Response demands depositions by vaguely asserting that these four judges will

be able to testify regarding their theory that “the Judges’ policies and directives were unwritten,

and even written policies were conveyed orally.” Dkt. No. 453 at 24. But Judge Warren has already

told Plaintiffs that “[the Felony Judges are] not giving instructions on magistrates how to set

bonds. [The Felony Judges] are not telling the sheriff when he can or cannot release people.”

Warren Depo. 60:14-17. Nothing is conveyed to the County, orally or otherwise, regarding how to

set bail in each individual case or what findings to make. 29 To allow Plaintiffs to depose non-party

judges simply because they have an answer that they do not like violates Rule 45.

            Significantly, Plaintiffs never answer a very obvious question: why these four judges?

Plaintiffs’ Response is devoid of any evidence as to why these judges are the ones who can answer


28
   The irrelevance of the information sought by Plaintiffs has been explained in detail above. See, supra, para. II.B.
Given that Plaintiffs intend to depose Judges Kelli Johnson, Ramona Franklin, Herb Ritchie, and DaSean Jones
regarding this same information, the arguments above apply equally herein.
29
   In fact, the only example Plaintiffs even give, out of the extensive discovery and testimony they have received in this
case, is a comment from Hearing Officer St. Julian, testifying in her personal capacity, that she heard about a written
policy from the Judges before she ever saw it. Dkt. No. 453 at 24. An example of a written policy is certainly not one
that Plaintiffs need a Judge’s testimony to explain how it was conveyed.


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the “critical” questions Plaintiffs claim to have. See Dkt. No. 453 at 24-25. This, in turn, should

make clear that the depositions are an attempt at a fishing expedition, nothing more. 30 Being

subjected to 7 hours of deposition purely to allow Plaintiffs to ask questions that have either already

been answered or have no bearing on their claims in this case is the epitome of an undue burden.

         B. Undue Burden Exists on the Judges as Public Officials. 31

         “[C]ourts have consistently recognized the undue burden that falls on public officials as a

consequence of compulsion to attend depositions.” Payne v. D.C., 279 F.R.D. 1, 5 (D.D.C. 2011).

In order to overcome this presumptive undue burden, “courts look to whether the official has some

personal knowledge about the matter and if the testimony will be relevant and material. ” Id.

Moreover, the party seeking the deposition must make a showing that the information cannot be

obtained elsewhere.” Id.; see also Alexander v. FBI, 186 F.R.D. 1, 4 (D.D.C. 1998) (“There is

substantial case law standing for the proposition that high ranking government officials are

generally not subject to depositions unless...the party seeking the deposition makes a showing that

the information cannot be obtained elsewhere.”).

         Assuming, arguendo, there are any policies promulgated by the Felony Judges that are

enforced upon County actors, the County would necessarily have to be aware of such policies. It

would defy logic to hold that evidence regarding policies the County is unaware of or does not

follow is relevant to this case that solely concerns County actors, their actions, and the reasons

behind those actions. If Harris County is the party in this suit, it has evidence has to which policies




30
   Judge Franklin, in particular, has already been the subject of Plaintiffs’ counsels’ public criticisms many times over
the past few years. The only apparent reason behind Plaintiffs wanting to depose her would be to continue this trend.
31
   Although Judge Ritchie is now retired, he is still functioning as a Visiting Judge.


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it follows, where those policies come from and for what purpose; all the information Plaintiffs want

can be obtained elsewhere. 32

         C. These Judges Are Entitled to Judicial Immunity.

         To the extent Plaintiffs intend to ask individual capacity questions to the Felony Judges,

judicial immunity bars the compulsion of their Rule 45 deposition subpoenas. “Although [the

Felony Judges are] a nonparty, the policy behind immunity does not merely extend to suits, it also

extends to protection against discovery.” Ray v. Judicial Corr. Services, Inc., 2:12-CV-02819-

RDP, 2014 WL 5090723, at *2 (N.D. Ala. Oct. 9, 2014) (holding nonparty judge was judicially

immune from being deposed as to any of his judicial actions); see also Harlow v. Fitzgerald, 475 U.S.

800, 818 (1982) (“[u]ntil [the] threshold immunity question is resolved, discovery should not be

allowed.”); In re Lickman, 304 B.R. 897, 903 (Bankr.M.D.Fla.2004).

         “[C]ourts have generally refused subpoenas due to judicial immunity “absent extreme and

extraordinary circumstances.” Fed. Trade Comm'n ex rel. Yost v. Educare Ctr. Services, Inc., EP-19-

CV-196-KC, 2020 WL 4334765, at *4 (W.D. Tex. May 26, 2020). This has led many courts to

quash requested discovery from a nonparty judge on immunity grounds. 33 Thus, discovery


32
   Plaintiffs may not like that Harris County deponents have mostly testified thus far that they are unaware of any
Felony Judge policies in their day-to-day jobs or do not know where the policies that Plaintiffs put in front of them
come from. But this is evidence that the Felony Judges do not have the policymaking enforcement power over the
County in the way Plaintiffs hoped they did, not that Plaintiffs should be permitted to keep fishing for some other
evidence that is either contrary or entirely unrelated to their current claims in this case.
33
   See United States v. Morgan, 313 U.S. 409, 422 (1941) (“But the short of the business is that the Secretary should
never have been subjected to this examination.... Just as a judge cannot be subjected to such a scrutiny.”); Robinson v.
Comm'r of Internal Revenue, 70 F.3d 34, 38 (5th Cir. 1995) (quashing subpoena for state court judge's testimony where
“the whole purpose of the subpoena was to delve into the judge's mental processes”); Grant v. Shalala, 989 F.2d 1332,
1344 (3d Cir. 1993) (holding that “[a]vailability of the type of discovery ... that the plaintiffs sought in this case,”
including documents containing notes and communications, “would undermine th[e] vital independence” of the
administrative law judge); United States v. Roebuck, 271 F. Supp. 2d 712, 718, 721 (D.V.I. 2003) (finding that “[the
judge] cannot be compelled to answer ... as the information sought falls directly within the prohibition established by
Morgan and its progeny” and that the requested documents could be obtained from other sources); United States v.
Dowdy, 440 F.Supp. 894, 897 (W.D.Va.1977) (holding that, because the defendant “failed to show any extraordinary
circumstances, examination into the judge's decision-making process will not be allowed”).


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reaching a nonparty official's judicial functions should not be permitted unless the party seeking

the discovery can demonstrate extreme and extraordinary circumstances. See Gary W. v. Louisiana

Department of Health & Human Resources, 861 F.2d 1366, 1369 (5th Cir. 1988).

       There is no question that Plaintiffs intend to question the Felony Judges about their actions

as judges. Plaintiffs asked numerous questions of Judge Warren about: (1) pending cases in his

courtroom in which his judicial decisionmaking is obviously implicated (98:11-99:5); (2) pending

cases in other Felony Judges’ courtrooms (172:2-173:18) (asking about Judge Franklin’s

decisionmaking in a case); and (3) how he may rule in his cases in the future (172:25-173:8).

Plaintiffs have asked the same of Judge St. Julian. See, e.g., St. Julian Depo. 108:5-20 (asking how

she would rule in hypothetical criminal case); id. at 110:13-15 (asking her to speculate how she will

set nonmonetary conditions of release in future cases); id. at 129:20-22 (giving hypothetical

scenario and asking how she would rule). The Felony Judges will undoubtedly be subject to the

same questioning, if not worse. Judicial immunity protects this very sort of compelled oral

testimony of decision-makers as to the basis for their opinions and rulings.

                                            Conclusion

       It is Plaintiffs’ responsibility to comply with Federal Rule of Civil Procedure 45 in a way

that does not place an undue burden on the nonparty from which discovery is sought. They have

not done so. Therefore, Plaintiffs’ subpoenas should be quashed in their entirety and the Felony

Judges should be granted a protective order from any future discovery by any party in this case.

       Dated: March 2, 2021.

                                                  Respectfully submitted.

                                                  KEN PAXTON
                                                  Attorney General of Texas


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                      NOTICE OF ELECTRONIC FILING


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       I, COURTNEY CORBELLO, Assistant Attorney General of Texas, certify that I have
electronically submitted for filing, a true and correct copy of the above and foregoing in accordance
with the Electronic Case Files system of the United States District Court for the Southern District
of Texas, on April 12, 2021.
                                                    /s/ Courtney Corbello
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                                    CERTIFICATE OF SERVICE

        I, COURTNEY CORBELLO, Assistant Attorney General of Texas, do hereby certify that a
true and correct copy of the above and foregoing has been served directly to all counsel on record
by the Electronic Case Files System of the Southern District of Texas on April 12, 2021.

                                                  /s/ Courtney Corbello
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